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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                  4:89cr4006-WS

TYRONE SMITH,                                                       4:05cv186-WS

                    Defendant.



          ORDER DENYING DEFENDANT'S MOTION TO VOID SENTENCE

       Before the court is the magistrate judge's report and recommendation (doc. 757)

docketed July 7, 2005. The magistrate judge recommends that the defendant's motion

to void sentence be summarily denied. The defendant has filed no objections to the

report and recommendation.

       Upon review of the record, this court has determined that the report and

recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 757) is hereby

ADOPTED and incorporated by reference into this order.
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       2. The defendant’s motion to void sentence (docs. 754) and motion to

supplement petition (doc. 755) are hereby summarily DENIED.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:05cv186-WS.

       DONE AND ORDERED this August 10, 2005.




                                        /s William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:89cr4006-WS
